          Case 1:18-cv-01458-PLF Document 46 Filed 07/18/18 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
M.G.U., et al.,                     )
                                    )
                Plaintiffs,         )
                                    )
      v.                            )                 Civil Action No. 18-1458 (PLF)
                                    )
KIRSTJEN NIELSEN, et al.,           )
                                    )
                Defendants.         )
____________________________________)


                                              ORDER

                This matter is before the Court on plaintiffs’ motion for a preliminary injunction

[Dkt. No. 13], requiring the United States government to immediately reunify plaintiff E.F. with

her nine-year-old son, from whom Ms. E.F. was forcibly separated shortly after crossing the

United States-Mexico border over two months ago. Upon careful consideration of the parties’

filings, the relevant legal authorities, the arguments of counsel on July 12, 2018, and the entire

record in this case, it is hereby

                ORDERED that plaintiffs’ motion for a preliminary injunction [Dkt. No. 13] is

GRANTED; it is

                FURTHER ORDERED that defendants must reunify Ms. E.F. with her son,

B.Y.A.F., on or before midnight on Friday, July 20, 2018; and it is

                FURTHER ORDERED that defendants and their officers, agents, servants,

employees, attorneys, and all those who are in active concert or participation with them, are
          Case 1:18-cv-01458-PLF Document 46 Filed 07/18/18 Page 2 of 2



prohibited from removing from the United States plaintiffs E.F., M.G.U., or A.P.F. until further

order of this Court.

               An Opinion explaining the reasoning underlying this Order will follow.

               SO ORDERED.




                                                            _________/s/_______________
                                                            PAUL L. FRIEDMAN
                                                            United States District Judge
DATE: July 18, 2018




                                                2
